Case 7:22-mj-00101-RSB Document 1-1 Filed 11/02/22 Page 1 of 7 Pageid#: 2




                                              7:22mj101
Case 7:22-mj-00101-RSB Document 1-1 Filed 11/02/22 Page 2 of 7 Pageid#: 3
Case 7:22-mj-00101-RSB Document 1-1 Filed 11/02/22 Page 3 of 7 Pageid#: 4
Case 7:22-mj-00101-RSB Document 1-1 Filed 11/02/22 Page 4 of 7 Pageid#: 5
Case 7:22-mj-00101-RSB Document 1-1 Filed 11/02/22 Page 5 of 7 Pageid#: 6
Case 7:22-mj-00101-RSB Document 1-1 Filed 11/02/22 Page 6 of 7 Pageid#: 7
Case 7:22-mj-00101-RSB Document 1-1 Filed 11/02/22 Page 7 of 7 Pageid#: 8




                                  /PWFNCFS                     


    Robert S. Ballou
